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        From                                                     McCray      DaShaun

        Sent                                                     Friday     January 31 2020 11 07 AM

        To                                                       Warren      Joni   J Duda      Ruth

        Subject                                                  RE CTM




       Joni



        CTM can be used            to   it's   full   capacity      I   am not   sure if   the appointing          letters are   in   CTM as   I   was informed by Pam   it   was

       just the     14 day letter As to removing                        the spreadsheet      this will      have to be discussed among OCC Leadership



       Thank      you


            DaSiamn        M WcC aY RSW NW CCN
                   31anager Cae In                          folie       Coininunity
            Vov nrt-l Dole V-qmc

       5500       W Xdo-99
            Vc iitq       Xansas               672-AN

            Pone 3-16-6S5-2221 eA152 34


        From Warren Joni J
        Sent Friday January 31 2020 11 03                           AM
       To Duda           Ruth   Ruth Duda
        Cc McCray          DaShaun

        Subject     FW CTM
        Importance          High




        Good morning


        Can we please get           clarification         regarding        WHAT we can use CTM               for    now


        I
             am thinking we can use it                for tracking       and stop   utilizing   the       group spreadsheets          this possibility was   mentioned   in


        previous     a   previous         as well       as the   OCC letter templates



        From Dial Elizabeth ELIZABETH
        Sent Tuesday January 28 2020 534 PM
       To VHAWIC           CITC MSA

        Subject     CTM
        Importance          High




       Team


        If
             you have     received training for             CTM you may begin working                      within   this   application




       Thank      You
        Elizabeth
                                                                                                                                                                     EXHIBIT

       Elizaheth Dial
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       Supervisor Program Specialist

        Community Care
       Robert J Dole      VA

        Wichita     KS   67218

        elizabeth dialva gov
        316 239-2721


                    EXCELLEMC-E
        CA     E

        through Teamwork

       Alone we can do      little   together we can do   much
                                        Helen Keller




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